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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
UNITED STATES OF AMERICA,                  )
                                           )
            v.                             ) No. 17-CR-10092-NMG
                                           )
GARY P. DECICCO,                           )
                                           )
                  Defendant.               )
__________________________________________)

      DEFENDANT GARY P. DECICCO’S MOTION IN LIMINE TO EXCLUDE
    REFERENCES OF ORGANIZED CRIME, GANG, OR “MOB” CONNECTIONS

       Pursuant to Fed. R. Evid. 402 and 403, Defendant Gary DeCicco respectfully moves in

limine to request that this Court preclude the government from using references organized crime

in connection with Mr. DeCicco, including any references to Mr. DeCicco as a “mobster,” any

references to individuals being “associates” of Mr. DeCicco, or any other reference connecting

Mr. DeCicco with organized crime. As further grounds for its Motion, Mr. DeCicco relies on the

Memorandum of Law filed herewith.

                                       CONCLUSION

       For these reasons, and the reasons set forth in the accompanying Memorandum in

Support, Mr. DeCicco requests that the Court grant this motion and preclude the government

from making any mention of organized crime or the “mob.”

                               REQUEST FOR ORAL ARGUMENT

       Mr. DeCicco requests that the Court hear oral argument on this motion.
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                                                     Respectfully submitted,

                                                     GARY P. DECICCO

                                                     By his attorneys,

                                                      /s/ Thomas C. Frongillo
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Dated: May 7, 2018                                   Fax: (781) 289-9468



                          LOCAL RULE 7.1(a)(2) CERTIFICATION

        Pursuant to Local Rule 7.1(a)(2), I certify that I conferred in good faith with counsel for
the United States, Assistant United States Attorney Kristina Barclay, to resolve or narrow the
issues presented by this motion, and that the disputed issues remain unresolved
        .
                                                               /s/ Caroline K. Simons
                                                               Caroline K. Simons




                                 CERTIFICATE OF SERVICE

      I hereby certify that a true copy of the above document was filed on May 7, 2018 through
the CM/ECF system and will be served electronically to registered CM/ECF participants as


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identified on the Notice of Electronic Filing.

                                                     /s/ Thomas C. Frongillo
                                                     Thomas C. Frongillo




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